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                                                                             FILED: August 2, 2021


                                 UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT

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                                                 No. 21-1707
                                        (5:09-cr-00027-KDB-DCK-1)
                                           ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        DAVID L. GILLIE

                       Claimant - Appellant

         and

        BERNARD VON NOTHAUS

                       Defendant

                                       _________________________

                                         RULE 42(b) MANDATE
                                       _________________________

                 This court's order dismissing this appeal pursuant to Local Rule 42(b) takes effect

        today.

                 This constitutes the formal mandate of this court issued pursuant to Rule 41(a) of

        the Federal Rules of Appellate Procedure.


                                                                        /s/Patricia S. Connor, Clerk



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